Case
 Case17-34784-JNP
      17-34784-JNP Doc
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                           Document        Page 1 of
                         Proposed Order Page 1 of 2  2
 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY


  Caption in Compliance with D.N.J. LBR 9004-1( b)

  Denise Carlon                                                               Order Filed on November 6,
                                                                             2018 by Clerk U.S. Bankruptcy
  KML LAW GROUP, P.C.                                                         Court District of New Jersey
  216 Haddon Avenue, Ste. 406
  Westmont, NJ 08108
  Ditech Financial LLC
                                                           Case No:         17-34784-JNP

 In Re:                                                    Chapter: 13
          Bombaro, Steven J., dba Cousins Garden Design,
          LLC
                                           Debtor
                                                           Hearing Date: 11/6/18
          Pagano, Donna M.                                 Judge: Jerrold N. Poslusny Jr.
          Pagano, Joseph R.
                                           Co-Debtors




                 ORDER VACATING STAY & CO-DEBTOR STAY
The relief set forth on the following page is hereby ordered ORDERED.




 DATED: November 6, 2018




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      Upon the motion of Ditech Financial LLC, under
Bankruptcy Code section 362(a) and 1301(c) for relief from the automatic stay as to certain
property as hereinafter set forth, and for cause shown, it is


       ORDERED that the automatic stay is vacated to permit the movant, to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue the movant’s rights in the following:

              Real Property More Fully Described as:

               Land and premises commonly known as Lot 5, Block 132,         244 South Broadway,
               Gloucester City, NJ 08030-2341


              Personal Property More Fully Describes as:




        It is further ORDERED that the movant, its successors or assignees, may proceed with its
rights and remedies under the terms of the subject Mortgage and pursue its State Court remedies
including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially
pursuing other loss mitigation alternatives, including, but not limited to, a loan modification,
short sale or deed-in-lieu foreclosure. Additionally, any purchaser of the Property at Sheriff’s
Sale (or purchaser’s assignee) may take any legal action for enforcement of its right to
possession of the Property.

       It is further ORDERED that the movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.
       It is further ORDERED that the co-debtor stay is vacated.
       The movant shall serve this order on the debtor, any trustee and any other party who
entered an appearance on the motion.


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